                 United States v. Shah, et al.

                     Case # 19-CR-00864




Supplemental Expert Report of Carl S. Saba, MBA, CVA, ASA, ABV

                         Confidential




                        June 24, 2024
                                                        Table of Contents




I.   Qualifications ...........................................................................................................................1
II. Assignment ..............................................................................................................................1
III. Opinions ..................................................................................................................................1
      I.   Qualifications

1.     My qualification and compensation are contained in my June 14, 2024 Initial Report

(“Saba Initial Report”). My curriculum vitae is attached to the Saba Initial Report as

Exhibit A.

     II.   Assignment

2.     In addition to my assignment described in the Saba Initial Report, I have been asked by

Bryan Cave Leighton Paisner LLP and Quinn Emanuel Urquhart & Sullivan, LLP (“Counsel”) in

the matter of United States v. Shah, (referred to as the “Government,” and Mr. Shah or

“Defendant,” respectively) to review and assess the Affidavit of Ravi Gupta (the “Gupta

Affidavit”), dated June 18, 2024, and to determine whether the Gupta Affidavit impacts my

Saba Initial Report conclusions. In this supplemental report, I used defined terms as defined

in the Saba Initial Report.

 III.      Opinions

3.     The Gupta Affidavit, at par. 3, states that Goldman Sachs, through GPOP Onshore and

GPOP Offshore invested $100 million in Series C-1 Common Stock in Outcome Health. This is

consistent with my understanding of the amount of the Goldman Sachs investment based on

my review of documents cited in Appendix B to my Saba Initial Report. I note for clarity that

Goldman Sachs and other investors invested in Outcome, Inc., which in turn had ownership

in Outcome Holdings, LLC, the entity that I valued in the Saba Initial Report.



                                            Page 1
4.   The Gupta Affidavit, at par. 4, states that the Class A and Series C-1 Investors owned

9.75% of the shares in Outcome Health. (I assume that Mr. Gupta is referring to Outcome

Holdings, LLC when he refers to Outcome Health.) According to the information I have

reviewed, Class A and Class C-1 Investors owned (through their shares in Outcome Inc.)

8.89% of the units in Outcome Holdings LLC. When founder Class B stock is included,

Outcome Inc.’s total ownership of Outcome Holdings LLC was 9.87%. These figures are close

to the 9.75% amount that are cited in the Gupta Affidavit, but they are not identical.

Exhibit 2.5.1 of the Saba Initial Report provides ownership details.

5.   I note that the Class A and Series C-1 Investors did not own 9.75% of the value of

Outcome Holdings LLC, as implied in par. 4 of the Gupta Affidavit (or 8.89% of the value as

per my records of percentage share ownership). Because of the Class A and C-1 Investors’

preferential rights (which are mentioned in par. 4 of the Gupta Affidavit), the Class A and

Series C-1 Investors owned closer to 50% of the company’s value, post-money. Therefore,

the implied post-money valuation for Outcome Holdings per my analysis is approximately

$1 billion, not $5 billion.

6.   Mr. Gupta’s reference to a venture capital style post-money valuation of $5 billion for

the company is a vastly oversimplified and unreliable way to interpret value based solely on

relative share count ($487.5 million divided by 9.75% of total shares equals $5 billion

company value). While this may be how post-money value is sometimes discussed in

simplified terms, this approach is not accepted in valuation guidance and practice. As the

shares bought by Goldman Sachs and the other Class A and C-1 Investors have preferential

rights for a fixed return (which is acknowledged in the Gupta Affidavit), the Class A and C-1

                                           Page 2
      shares cannot be worth the same as Founder shares that don’t have these preferential

      rights. Further, the market multiples and forecasts that Goldmans Sachs and CapitalG were

      reviewing in their investment committee presentations supported a value closer to $1 billion

      than one of $5 billion for Outcome Holdings (see Exhibit 2.1.2 of the Saba Initial Report).

      7.   For those reasons, the $5 billion valuation provided in the Gupta Affidavit is not, in my

      view, a reliable indication of the company’s equity value as of the date of Goldman Sach’s

      investment before adjustment for fraud. If, however, one were to assume such an

      inaccurate valuation, the result would be to increase both the value of the company that

      would have been available to cover the investors’ fixed claim prior to the 2018 settlement

      and restructuring, as well as to increase the value delivered to investors as a result of the

      2018 settlement beyond the approximately $26.6 million in value over their original

      investment reflected in my analysis.

      8.   The Gupta Affidavit, at par. 7, describes the 2018 post-restructuring waterfall in a way

      that is consistent with my understanding from review of documents, and with the manner in

      which I modeled this waterfall in my February 1, 2018 equity allocation model for Outcome

      Holdings LLC, as shown in the Saba Initial Report. However, I believe Mr. Gupta

      inadvertently flipped the order of the preferences—I understand that the $420.9 million

      preference to investors is before the 50% / 50% split of the next (rather than the first) $1.55

      billion in company equity value between investors and founders.1 Any excess over that

      amount is split 66% to the founders / 33% to the investors.




1
    3rd OHLLC Agreement, Article V, Sec. 5.1 and Article I Definitions.

                                                          Page 3
    9.   The Gupta Affidavit, at par. 10, states that Goldman Sachs adjusted their initial

    $100 million investment down to approximately $22 million by December 31, 2018, implying

    that the overall value of Outcome Holdings is substantially lower at the end of 2018 than in

    my calculation of value as of February 1, 2018.2 However as of that date, Outcome Holdings

    had not incurred losses that followed for next 11 months, and had not experienced revenue

    erosion at the level demonstrated by end of calendar year 2018.3 It would therefore be

    inappropriate to consider post-hoc developments in determining a valuation as of a certain

    date. Instead, any valuation must be made based upon the information that would have

    been available to investors at the time. I also note that Mr. Gupta does not apportion the

    Goldman Sachs write-down between the effect of the fraud and the effects of other factors,

    such as the AccentHealth acquisition.

    10. The Gupta Affidavit, at par. 9 and 25, appears to confirm that Goldman Sachs had

    marked down their restructured investment by approximately 90% by December 31, 2023,

    and had lost their preferential rights in the May 2019 Restructuring, which contributed to

    this reduction in value. As I understand it, this is the basis for the Government’s claim of

    investor loss figure, as opposed to an assessment of the value of their investment on any of

    the Valuation Dates.




2
  As stated in the Saba Initial Report, I have made the reasonable assumption based on my review of the available
evidence and given the absence of updated financial forecasts as of that date, that investor forward outlook would
not have fundamentally changed as of that date, as compared to the forecasts that investors relied on for the 2017
financing.
3
  The financial records provided to me do not include monthly financial statements past November 2017.

                                                     Page 4
Dated: June 24, 2024
                       Carl S. Saba, MBA, CVA, ASA, ABV




                               Page 5
